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11:10 am, Jun 03 2021                                                                    1:21-mj-1515 to -1517 TMD
AT BALTIMORE
CLERK, U.S. DISTRICT COURT
DISTRICT OF MARYLAND                        AFFIDAVIT IN SUPPORT OF
BY ______________Deputy
                                    APPLICATIONS FOR SEARCH WARRANTS
                  I, Russell Alberti, a Special Agent with the Naval Criminal Investigative Service (NCIS)

         being duly sworn, state the following:

                                               AGENT BACKGROUND

                  1.         I am a Special Agent with NCIS and have been so since 2005. As such, I am an

         officer of the United States who is empowered by law to conduct investigations of and to make

         arrests for offenses enumerated in Titles 18 and 10 of the United States Code.

                  2.         I am currently assigned to the NCIS Office of Special Projects Criminal Squad,

         focused primarily on felony investigations involving US Navy and US Marine Corps members, as

         well as Department of Defense civilian employees. I am a graduate of the Criminal Investigator

         Training Program and the NCIS Special Agent Basic Training Program located at the Federal Law

         Enforcement Training Center (FLETC) in Brunswick, GA. I have also completed the Advanced

         Adult Sexual Violence Training Program, the Advanced Family and Sexual Violence Training

         Program, and several other training courses at FLETC. I have worked a variety of Criminal and

         Counterintelligence investigations, as well as joint investigations with local and federal law

         enforcement agencies, in the United States and foreign countries.          I have conducted and

         participated in numerous investigations, searches, and seizures pertaining to sexual assaults,

         domestic violence, death, economic crimes, Counterintelligence, Counterterrorism, and the Law

         of Armed Conflict. I have participated in the execution of search warrants in various types of

         investigations involving searches and seizures of mobile phones, computers, computer equipment,

         electronically stored information, email accounts, and social media accounts.




                                                            1
            Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 2 of 17

                                                                               1:21-mj-1515 to -1517 TMD


       3.       This is an Affidavit provided in support of applications for search warrants pursuant

to 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A), and Federal Rules of Criminal

Procedure 41. Specifically, I seek search warrants to require Instagram, LLC (“Instagram”);

Google LLC (“Google”); and Oath Holdings, Inc. (“Yahoo!”); which are incorporated by reference

herein and collectively referred to as the Target Communication Accounts; to disclose to the

government records and other information in its possession that pertain to the subscribers or

customers associated with an Instagram account, referred to as the Target Instagram Account;

Google accounts, collectively referred to as the Target Google Accounts; and Yahoo! accounts,

collectively referred to as the Target Yahoo! Accounts. The information to be searched is

described in the following paragraphs and in Attachments B-1 through B-3, which are incorporated

by reference herein.

       4.       As detailed further below, I believe these accounts belong to two different

individuals: Giovonni POPE (the Subject) and Erica ANDERSON (DECEASED) (the Victim).

Law enforcement learned these accounts were utilized by POPE and ANDERSON based on an

investigation involving multiple law enforcement agencies.

       5.       This affidavit is being submitted in support of search warrants for records related

to the following Target Communication Accounts:

                Instagram Account

                a.     The following Instagram account and records that are stored at premises

owned, maintained, controlled, or operated by: Facebook, Inc., a social networking company

headquartered at 1601 Willow Road Menlo Park, California 94025:

 Username                                 Believed to used by:

 zamirlf (User ID: 35121213724)           Giovonni POPE

                                                  2
            Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 3 of 17

                                                                                1:21-mj-1515 to -1517 TMD




                         Google Accounts

                  b.     The following Google accounts and records that are stored at premises

owned, maintained, controlled, or operated by Google LLC, a business with offices located at 1600

Amphitheatre Parkway Mountain View, California 94043:

 Google ID                                       Believed to be used by:
 pope.g93@gmail.com                              Giovonni POPE
 giovonnipope93@gmail.com                        Giovonni POPE
 giovonnipope35@gmail.com                        Giovonni POPE
 giovonnipope81@gmail.com                        Giovonni POPE
 esande45@gmail.com                              Erica ANDERSON


                         Yahoo! Accounts

             c.          The following Yahoo! accounts and records that are stored at premises

owned, maintained, controlled, or operated by Oath Holdings, Inc., a business with offices located

at 701 First Avenue, Sunnyvale, California 94089:

 Yahoo Account                                   Believed to used by:
 giovonni.pope@yahoo.com                         Giovonni POPE
 ericabelton@yahoo.com                           Erica ANDERSON


       6.         Based on the facts set forth in this affidavit, I respectfully submit that there is

probable cause to believe that Giovanni POPE committed murder, in violation of 18 U.S.C. § 1111,

while accompanying the Armed Forces outside the United States, in violation of 18 U.S.C. §

3261(a)(1), and that the Target Communication Accounts contain evidence, fruits, or

instrumentalities of this crime (as described more fully in Attachment B-1 through B-3).

       7.         Because this affidavit is being submitted for the limited purpose of establishing

probable cause for search warrants, I have not included every detail of every aspect of the

                                                   3
            Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 4 of 17

                                                                              1:21-mj-1515 to -1517 TMD


investigation. Rather, I have set forth only those facts that I believe are necessary to establish

probable cause to believe that evidence, fruits, and instrumentalities of violations of the

aforementioned federal statutes are located within the Target Communication Accounts. I have

not, however, excluded any information known to me that would defeat a determination of

probable cause. The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, records, and reports. This

affidavit is intended to show merely that there is sufficient probable cause for the requested

warrants and does not set forth all of my knowledge about this matter.

       8.        The Court has jurisdiction to issue the proposed warrant because it is a “court of

competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the Court is a district court

of the United States that has jurisdiction over the offense being investigated; see 18 U.S.C. §

2711(3)(A)(i).

                                       PROBABLE CAUSE

       9.        NCIS and the FBI are investigating the death of ANDERSON, who was allegedly

killed by POPE, her 27-year-old son. The investigation is ongoing.

       10.       On January 31, 2021, ANDERSON was employed as a civilian Department of

Defense (DOD) employee stationed at the Naval Support Activity in Bahrain. POPE resided in

the same residence as ANDERSON, an off-base apartment, located at Kazerooni Heights-1,

Building 2030, Road 5717, Block 0257, Flat#171, Seventeenth Floor, Amwaj, Bahrain (“the

Residence”).

       11.       On the morning of February 1, 2021, one or more of ANDERSON’s co-workers at

the Naval Computer and Telecommunications Station observed that ANDERSON was not present

at work for her scheduled shift. Her coworkers attempted to contact her on her mobile telephone

                                                 4
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 5 of 17

                                                                               1:21-mj-1515 to -1517 TMD


but received no reply. One of her colleagues, a civilian employed with the DOD, drove to the

Residence to check on ANDERSON. However, no one answered the door.

       12.     Concerned about ANDERSON’s welfare, her work colleague and the Property

Manager for the Residence opened the door to the Residence.              Upon opening the door,

ANDERSON’s colleague and the Property Manager noticed a sheet or blanket covering what

appeared to be a body near the entrance of the Residence. Shortly thereafter, NCIS agents arrived

at the Residence and observed through the door what appeared to be a body under a gray sheet or

blanket, and what appeared to be blood on the floor tile next to the blanket and on the wall adjacent

to the door frame of the main entrance to the Residence.

       13.     Bahraini emergency services responded to the Residence. Upon entry, Emergency

Medical Technicians (EMTs) removed the gray covering from the body. When medical personnel

removed the covering from the top portion of ANDERSON’s body, NCIS agents observed a black

female with multiple wounds to the left side of her neck, left shoulder, left arm, and observed

blood under the hair of her head. ANDERSON was wearing only a bra, underwear, and socks.

No occupants were present inside the Residence with ANDERSON at that time. The EMTs

pronounced ANDERSON deceased at approximately 12:40 PM. The Bahraini authorities took a

photograph of ANDERSON’s face, and ANDERSON’s work colleague who was at the scene

viewed the photograph and positively identified ANDERSON

       14.     A building employee reviewed the building’s security cameras. The electronic

recordings showed POPE leaving the building at approximately 9:13 PM on January 31, 2021, in

ANDERSON’s silver Ford Sport Utility Vehicle. The Bahrain Ministry of Interior (MOI)

immediately assumed primary jurisdiction over the investigation and subsequently apprehended

POPE in ANDERSON’s vehicle. NCIS was informed that at the time he was apprehended, POPE

                                                 5
           Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 6 of 17

                                                                                           1:21-mj-1515 to -1517 TMD


was wearing blood-stained clothing and had minor injuries to his hands. POPE was subsequently

detained by MOI as a suspect in ANDERSON’s apparent murder.

        15.      On February 6, 2021, NCIS agents were granted access to POPE to conduct a

custodial interview. On February 9, 2021, NCIS agents conducted a recorded interrogation of

POPE at the MOI Criminal Investigation Directorate (CID) facility in Adliya, Bahrain. At the

time, POPE remained in Government of Bahrain (GOB) custody as part of GOB’s investigation

into the death of ANDERSON. POPE was advised of his rights under an Overseas Miranda Rights

Advisement. POPE subsequently waived his right to an attorney and his right to remain silent.

POPE stated that on January 31, 2021, he was home at the Residence working on ANDERSON’s

laptop computer on his online clothing business. POPE noted that, at approximately 3:30 PM,

ANDERSON returned from work. Soon after returning home, POPE said ANDERSON declared

she was dissatisfied at work and requested POPE kill her. Later in the interrogation, POPE

admitted ANDERSON did not ask him to kill her. POPE stated that he could not secure

employment in Bahrain and wanted to return to the United States to secure employment and be

with his wife in California. 1 POPE noted he did not tell ANDERSON about his wife or his

intentions to move to California. POPE further spoke of a past incident of violence in Bahrain,

where he broke a vehicle window. According to POPE, ANDERSON had him committed to a

mental health facility for evaluation and treatment.

        16.      POPE stated that when ANDERSON returned home from work, he went to the

kitchen and got a red knife and then went to the room where his mother was sitting and stabbed

her eighteen times. He also stated that he accidentally injured his own wrist when his mother


1
 NCIS and FBI have not yet confirmed the status of POPE’s relationship to the individual he identified in
California.

                                                         6
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 7 of 17

                                                                               1:21-mj-1515 to -1517 TMD


moved her arm during one of his stabs. POPE said he then removed ANDERSON’s sweater and

jeans, put them in a bag of trash, and threw the bag down the garbage chute in the apartment

building. He said that he rinsed the knife and cleaned up the apartment. POPE said that after he

killed ANDERSON, he used his Navy Federal Credit Union debit card to purchase an airplane

ticket for a flight on February 2, 2021, to the United States, to visit his wife in California. POPE

stated he made the flight reservation using ANDERSON’s same laptop computer he had been

using for his online business earlier that day.

       17.     POPE recalled he also packed a bag in preparation for his flight to the United States.

POPE stated he departed the Residence using ANDERSON’s sport utility vehicle and was

apprehended by MOI on February 1, 2021. POPE said he spoke with his wife the day prior to and

the day after he stabbed his mother about his intentions to come to California. POPE noted he

spoke with his wife using the Instagram application, which he accesses on both the laptop computer

and his cellular telephone.

       18.     During the investigation, I reviewed crime scene photographs taken by Bahrain

MOI CID. These photos show a large red kitchen knife with other dishes in the kitchen sink of

the apartment. In addition, the photographs depict ANDERSON, lying on her back in the living

room with numerous wounds visible on her body. The photographs portray what appear to be

traces of blood on various surfaces in the residence, including on the wall beside the door, on the

floor near the body in the living room, on the kitchen floor, on a light switch, and in the bathroom.

The crime scene photographs also depict multiple electronic devices in the vicinity of the body.

       19.     On February 1, 2021, POPE told MOI investigators his Instagram username was

“zamirlm” or “zamirln.” An open source search to identify these usernames on Instagram was

unsuccessful. However, an Instagram page with a username of “zamirlf” was identified. The

                                                  7
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 8 of 17

                                                                              1:21-mj-1515 to -1517 TMD


“zamirlf” account featured a picture of a man meeting the description of POPE, and a reference to

“landsfinest,” which is the name of POPE’s aforementioned online clothing business. On March

5, 2021, a subpoena was served on Facebook, requesting subscriber information for the Target

Instagram Account. On March 16, 2021, Facebook provided a response indicating the Target

Instagram Account was registered to “Zamir”, created on May 10, 2020, and was linked to

telephone number 973-3735-0308.

       20.    On February 9, 2021, NCIS personnel reviewed a copy of POPE’s resume, provided

by an associate of ANDERSON. The resume listed POPE’s contact information as Bahraini

telephone    numbers      973-3735-0308      and    973-3542-9922,      and       email      address

“pope.g93@gmail.com.” An employment in-processing sheet was located by NCIS wherein

ANDERSON identified her email address as “esande45@gmail.com.” On March 5, 2021, a

subpoena was served on Google, requesting subscriber information for the Target Google

Accounts. On March 16, 2021, Google provided a response indicating Target Google Account

pope.g93@gmail.com was registered to “G Pope,” created on April 3, 2020, and linked to recovery

telephone number 97335429922. Target Google Account esande45@gmail.com was registered

to “EB Anderson,” created on February 5, 2010, and associated with recovery email

ericabelton@yahoo.com and recovery telephone number 97335429922.                    A review of

ANDERSON’s         government      email     account     yielded     email      messages         from

“giovonnipope93@gmail.com” in 2019.         The emails were in response to emails sent by

ANDERSON, in which she addressed the messages to “Giovonni.” One of the emails from

“giovonnipope93@gmail.com” had an image of POPE’s passport attached.                  Additionally,

ANDERSON’s government email contained an email forwarded from the account

ericabelton@yahoo.com in 2019. The forwarded message contained header information stating it

                                               8
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 9 of 17

                                                                           1:21-mj-1515 to -1517 TMD


was from “Giovonni Pope <giovonnipope35@gmail.com>.” The text of the message from

“giovonnipope35@gmail.com” to ANDERSON began with “Hey Mom.” Finally, ANDERSON’s

work    email     account    contained    a   2019     email    chain    between       her     and

“giovonnipope35@gmail.com.” ANDERSON began the email chain with “Good Morning Son,”

and asked which email address POPE wanted to use as his main address for a resume. The

response from the “giovonnipope35@gmail.com” account was “giovonnipope81@gmail.com.”

       21.      On February 18, 2021, a review of ANDERSON’s civilian personnel file

determined she utilized email address “ericabelton@yahoo.com.” The file further listed POPE’s

email address as “giovonni.pope@yahoo.com.” On March 5, 2021, a subpoena was served on

Oath Holdings, Inc. for the Target Yahoo! Accounts. On March 18, 2021, Yahoo! provided a

response indicating Target Yahoo Account giovonni.pope@yahoo.com was registered to

“Giovonni Pope”, created on December 22, 2014, and was linked to telephone number

5206788788. Target Yahoo Account ericabelton@yahoo.com was registered to “Erica Belton”,

created on September 13, 2003, linked to alternate email address esande45@gmail.com, and was

linked to telephone number 97335429922.

       22.      On March 31, 2021, United States Magistrate Judge Hon. Thomas M. DiGirolamo

of the District Court of Maryland authorized a search warrant for twelve electronic devices

recovered from the apartment shared by POPE and ANDERSON by the Bahrain MOI and the

NCIS. One of the devices reviewed during the execution of the search warrant, an Android Redmi

6A cellular phone, was seized from POPE’s person at the time of his arrest on February 1, 2021.

A review of the device determined it was in an unlocked state and linked to Target Google

Account pope.g93@gmail.com and telephone number 973-3735-0308. The other electronic



                                              9
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 10 of 17

                                                                               1:21-mj-1515 to -1517 TMD


devices were in a locked state and/or sent to the FBI Laboratory in Quantico Virginia for further

exploitation.

                            AFFIANT’S TRAINING AND EXPERIENCE

       23.      Based on my knowledge, training, and experience, individuals who participate in

criminal activity frequently use social media and the Internet before and after those crimes. I know

that individuals will use communication applications to research their crimes, obtain items material

to the crime, and coordinate their post crime activities.

       24.      I know, based on my training knowledge and expertise that web-based

communication accounts, such as those provided by Instagram, Google, and Yahoo! are

increasingly common ways for persons to communicate. I am aware that Instagram users often

use the messaging and posting functions to provide alternate contact information, such as

additional Instagram accounts, e-mail accounts, phone numbers, and/or other social networking

contact information in order to continue and facilitate their communications privately. Further, I

am aware that Instagram, Google, and Yahoo! allow users to communicate privately. Instagram

accounts often contain phone numbers, email addresses, messages and/or emails, photos, and other

registration information.    Similarly, Google and Yahoo! accounts may also contain phone

numbers, alternate email addresses, messages and/or emails, photos, other registration information

as well as location information. Furthermore, based on my training, knowledge, and experience,

it is common for suspects to use social media and email accounts to plan and communicate about

their crimes.

       25.      As explained herein, information stored in connection with online accounts may

provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct

under investigation, thus enabling the United States to establish and prove each element or

                                                 10
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 11 of 17

                                                                                 1:21-mj-1515 to -1517 TMD


alternatively, to exclude the innocent from further suspicion. In my training and experience, the

information stored in connection with an online account can indicate who has used or controlled

the account. This “user attribution” evidence is analogous to the search for “indicia of occupancy”

while executing a search warrant at a residence. For example, communications, contacts lists, and

images sent (and the data associated with the foregoing, such as date and time) may indicate who

used or controlled the account at a relevant time and their physical location.

       26.     Based on my training, knowledge, and experience, and the direct circumstances of

this case, I believe that Giovonni POPE may have used the Target Communication Accounts to

plan and execute the murder of Erica ANDERSON. I further believe Erica ANDERSON likely

used the Target Communication Accounts to communicate with others about significant events

or her state of mind prior to her death. I respectfully submit that here, the “items to be seized” is

content and location-based information from the Target Communication Accounts belonging to

the Subject and the Victim. The nexus between the communications sent and received by the

Subject and the Victim, location information, and the criminal activity is to provide a timeline of

the crime under investigation. In my experience, users of these services tend to keep and store

communications and other information in their accounts well after the completion of such crimes

and continue to communicate through these services about their crimes after the crimes have been

completed. Thus, I believe that the Target Communication Accounts may provide additional

evidence of these crimes and may still contain evidence that may be relevant to the investigation

of these crimes.

                           INFORMATION ABOUT INSTAGRAM

       27.     Instagram owns and operates a free-access social-networking website of the same

name that can be accessed at http://www.instagram.com. Instagram allows its users to create their

                                                 11
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 12 of 17

                                                                               1:21-mj-1515 to -1517 TMD


own profile pages, which can include a short biography, a photo of themselves, and other

information. Users can access Instagram through the Instagram website or by using a special

electronic application (“app”) created by the company that allows users to access the service

through a mobile device.

       28.     Instagram permits users to post photos to their profiles on Instagram and otherwise

share photos with others on Instagram, as well as certain other social-media services, including

Flickr, Facebook, and Twitter. When posting or sharing a photo on Instagram, a user can add to

the photo: a caption; various “tags” that can be used to search for the photo (e.g., a user made add

the tag #vw so that people interested in Volkswagen vehicles can search for and find the photo);

location information; and other information. A user can also apply a variety of “filters” or other

visual effects that modify the look of the posted photos. In addition, Instagram allows users to

make comments on posted photos, including photos that the user posts or photos posted by other

users of Instagram. Users can also “like” photos.

       29.     Upon creating an Instagram account, an Instagram user must create a unique

Instagram username and an account password. This information is collected and maintained by

Instagram.

       30.     Instagram asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user profile.

This information may include the user’s full name, e-mail addresses, and phone numbers, as well

as potentially other personal information provided directly by the user to Instagram. Once an

account is created, users may also adjust various privacy and account settings for the account on

Instagram. Instagram collects and maintains this information.



                                                 12
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 13 of 17

                                                                              1:21-mj-1515 to -1517 TMD


        31.     Instagram allows users to have “friends,” which are other individuals with whom

the user can share information without making the information public. Friends on Instagram may

come from either contact lists maintained by the user, other third-party social media websites and

information, or searches conducted by the user on Instagram profiles. Instagram collects and

maintains this information.

        32.     Instagram also allows users to “follow” another user, which means that they receive

updates about posts made by the other user. Users may also “unfollow” users, that is, stop

following them or block the, which prevents the blocked user from following that user.

        33.     Instagram allows users to post and share various types of user content, including

photos, videos, captions, comments, and other materials. Instagram collects and maintains user

content that users post to Instagram or share through Instagram.

        34.     Instagram users may send photos and videos to select individuals or groups via

Instagram Direct. Information sent via Instagram Direct does not appear in a user’s feed, search

history, or profile.

        35.     Users on Instagram may also search Instagram for other users or particular types of

photos or other content.

        36.     For each user, Instagram also collects and retains information, called “log file”

information, every time a user requests access to Instagram, whether through a web page or

through an app. Among the log file information that Instagram’s servers automatically record is

the particular web requests, any Internet Protocol (“IP) address associated with the request, type

of browser used, any referring/exit web pages and associated URLs, pages viewed, dates and times

of access, and other information.



                                                13
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 14 of 17

                                                                              1:21-mj-1515 to -1517 TMD


       37.     Instagram also collects and maintains “cookies,” which are small text files

containing a string of numbers that are placed on a user’s computer or mobile device and that

allows Instagram to collect information about how a user uses Instagram. For example, Instagram

uses cookies to help users navigate between pages efficiently, to remember preferences, and to

ensure advertisements are relevant to a user’s interests.

       38.     Instagram also collects information on the particular devices used to access

Instagram. In particular, Instagram may record “device identifiers,” which includes data files and

other information that may identify the particular electronic device that was used to access

Instagram.

       39.     Instagram also collects other data associated with user content. For example,

Instagram collects any “hashtags” associated with user content (i.e., keywords used), “geotags”

that mark the location of a photo and which may include latitude and longitude information,

comments on photos, and other information.

       40.     Instagram also may communicate with the user, by email or otherwise. Instagram

collects and maintains copies of communications between Instagram and the user.

       41.     As explained herein, information stored in connection with an Instagram account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, an

Instagram user’s account activity, IP log, stored electronic communications, and other data

retained by Instagram, can indicate who has used or controlled the Instagram account. This “user

attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

search warrant at a residence. For example, profile contact information, direct messaging logs,

                                                 14
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 15 of 17

                                                                             1:21-mj-1515 to -1517 TMD


shared photos and videos, and captions (and the data associated with the foregoing, such as geo-

location, date and time) may be evidence of who used or controlled the Instagram account at a

relevant time. Further, Instagram account activity can show how and when the account was

accessed or used. For example, as described herein, Instagram logs the Internet Protocol (IP)

addresses from which users access their accounts along with the time and date. By determining

the physical location associated with the logged IP addresses, investigators can understand the

chronological and geographic context of the account access and use relating to the crime under

investigation.     Such information allows investigators to understand the geographic and

chronological context of Instagram access, use, and events relating to the crime under

investigation. Additionally, Instagram builds geo-location into some of its services. Geo-location

allows, for example, users to “tag” their location in posts and Instagram “friends” to locate each

other. This geographic and timeline information may tend to either inculpate or exculpate the

Instagram account owner. Last, Instagram account activity may provide relevant insight into the

Instagram account owner’s state of mind as it relates to the offense under investigation. For

example, information on the Instagram account may indicate the owner’s motive and intent to

commit a crime (e.g., information indicating a plan to commit a crime), or consciousness of guilt

(e.g., deleting account information in an effort to conceal evidence from law enforcement).

                              INFORMATION ABOUT GOOGLE

       42.       Google provides numerous free services to the users with a Google account. Some

of services include, Gmail, YouTube, Voice, Blogger, Google+, Android, Photos, Drive, Location

History, and Search and Browsing History. Gmail is a web based email service. YouTube is a

free video sharing website that allows users upload, view and share videos. Voice is Google’s

calling, voicemail transcription, and text messaging service. Blogger is Google’s free weblog

                                                15
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 16 of 17

                                                                               1:21-mj-1515 to -1517 TMD


publishing tool for sharing text, photos, and video. Google+ is a forum to share photos, videos,

and other information with other users. Android is Google’s open source operating system used

for mobile devices. Photos stores images for a broad range of Google products. Drive is Google’s

online storage service for a wide range of file types.

                              INFORMATION ABOUT YAHOO!

       43.    Oath Holdings Inc. (d/b/a Yahoo) provides numerous free services to the users with

a Yahoo account. Some of the services include Mail, Flickr, and Messenger. Yahoo Mail is a web

based email service. Flickr is an image and video hosting website that offers private and public

image storage. A user uploading an image can set privacy controls that determine who can view

the image. Yahoo Messenger is an instant messaging service that provides text and voice

communication. Users can also share files and images through the Messenger service.

                                         CONCLUSION

       44.     By this affidavit and applications, I request that the Court issue the proposed search

warrants, pursuant to 18 U.S.C. § 2703 and Federal Rule of Criminal Procedure 41(a), authorizing

the search and seizure of information associated with the Target Communication Accounts

described in Attachments A-1 through A-3 to seek items described in Attachments B-1 through B-

3.

       45.     Based upon the information contained in this affidavit, your Affiant submits there

is probable cause to believe the contents of the Target Communication Accounts contain the

evidence, fruits, and/or instrumentalities of Murder, in violation of Title 18 U.S.C. § 1111; while




                                                 16
         Case 1:21-mj-01515-TMD Document 3 Filed 06/03/21 Page 17 of 17

                                                                               1:21-mj-1515 to -1517 TMD


employed by or accompanying the Armed Forces outside the United States, in violation of 18

U.S.C. § 3261(a)(1).

       46.     I anticipate executing the warrant to search the Target Communication Accounts

pursuant to Federal Rule of Criminal Procedure 41(a) and the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l )(A), and 2703(c)(l)(A), by using the warrant

to require the aforementioned service and/or telecommunications providers to disclose to the

government copies of the records and other information (including the content of

communications) particularly described in Attachments B-1 through B-3.

       47.     Because the warrants will be served on electronic communications services and

wireless phone companies who will then compile the requested records at a time convenient to

them, there exists reasonable cause to permit the execution of the requested warrant at any time in

the day or night.



                                                     Respectfully Submitted,


                                                     __________________________
                                                     ________________________
                                                     SA Russell Alberti
                                                     Naval
                                                     N lC  Criminal
                                                             i i l IInvestigative
                                                                         ti ti S  Service

       Affidavit submitted by email and attested to me as true and accurate by telephone
consistent with Fed. R. Crim. P. 4.1 and 41(d)(3) this ______ day of May
                                                                     May,  2021.
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                                                      __ _______________________
                                                     Hon.
                                                     H Thomas
                                                          Th       M. DiGirolamo
                                                                   M  DiGi l
                                                     United States Magistrate Judge




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